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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION, YOUNGSTOWN

WILLIAM LEE FISHER, HELEN GOULD,                  )     Case No.
DONNA HOLZER, ROBERT HOLZER,                      )
TAYLOR HOLZER, MELINDA HUTTON,                    )     JUDGE:
JENNIFER KIDDER, JOSEPH KIDDER,                   )
JULIE RICHEAL, KEITH RICHEAL,                     )     CLASS ACTION COMPLAINT
GEORGE A. PSOMAS, individually and on             )
behalf of all others similarly situated,          )     JURY TRIAL DEMANDED
                                                  )
                Plaintiffs,                       )
                                                  )
                                                  )
                      v.                          )
                                                  )
NORFOLK SOUTHERN CORPORATION,                     )
NORFOLK SOUTHERN RAILWAY                          )
COMPANY, ABC CORPORATIONS 1-20                    )
(Names Unknown)                                   )
                                                  )
                Defendants.                       )




                                       INTRODUCTION

       Plaintiffs William Lee Fisher, Helen Gould, Donna Holzer, Robert Holzer, Taylor

Holzer, Melinda Hutton, Jennifer Kidder, Joseph Kidder, Julie Richeal, Keith Richeal, and

George A. Psomas, by their undersigned attorneys, allege upon personal knowledge as to

themselves and their own actions, and upon information and belief, including the investigation of

counsel, as to all other matters, as to which allegations they believe substantial evidentiary

support exists or will exist after a reasonable opportunity for further investigation and discovery,

as follows:

                              I.     NATURE OF THIS ACTION
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       1.      This is a class action brought on behalf of thousands of individuals and businesses

damaged by the derailment of Norfolk Southern Freight Train 32N in East Palestine, Ohio on

February 3, 2023.

       2.      Of the dozens of cars that derailed, at least eleven contained hazardous materials,

including vinyl chloride, a highly combustible compound classified by the EPA as a Group A

human carcinogen (i.e., the deadliest). Exposure to vinyl chloride affects the cardiovascular,

respiratory, and central nervous systems, and can cause difficulty breathing, lung irritation, chest

pains, coughing, dizziness, headaches, eye irritation, loss of consciousness, and even death.

       3.      Although firefighters worked tirelessly for days trying to contain the resulting

blaze, they were unable to extinguish the conflagration. And as the temperature of the of cars

containing the vinyl chloride rose, so did the risk of a catastrophic explosion. Although the cars

were equipped with emergency relief valves designed to prevent dangerous pressure levels by

venting the car’s contents to the atmosphere, the valves malfunctioned. Due to the imminent

threat of a deadly explosion, residents had to be evacuated from their homes.

       4.      On February 6, 2023, three days after the derailments, Defendants performed a

"controlled release" of the vinyl chloride. That procedure entailed dumping the cancer-causing

substance into a trench, setting it afire, and waiting for the vinyl chlorine to burn off into the

atmosphere.    Unfortunately, when vinyl chloride burns, it releases other toxic chemicals,

including hydrogen chloride and phosgene, a chemical warfare agent used in World War I now

banned by the Geneva Convention. The toxic mushroom cloud of black smoke could be seen for

many, many miles.

       5.      On February 8, 2023, five days after the derailment, the fire was finally

extinguished. But the damage was done. More than a million pounds of vinyl chloride had been

emitted into the environment. That is more than twice the total annual vinyl chloride emissions

of all industrial emitters in the United States combined.


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       6.      As a direct consequence of Defendants’ reckless and negligent actions and/or

omissions, Plaintiffs and the Class members have suffered and will continue to suffer substantial

damages, including but not limited to decreased property values, damage to real and personal

property, out-of-pocket expenses, lost wages, loss of business income, loss of business goodwill,

and medical monitoring expenses.

       7.      Accordingly, Plaintiffs bring this suit on behalf of themselves and similarly

situated residents and businesses in close proximity to the derailment site, seeking financial

compensation for these injuries. Plaintiffs also seek injunctive and equitable relief, including

testing and cleaning protocols to abate the toxic discharges, as well as the creation of a fund to

finance medical monitoring services to screen, prevent, and treat injuries caused by the toxic

chemicals released as a result of the derailment and so-called “controlled release” of the toxic

chemicals.

                             II.     JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1332(d)(2), as amended by the Class Action Fairness Act of 2005, because the amount in

controversy exceeds $5,000,000, exclusive of interests and costs, and because this is a class

action in which the members of the classes and Defendant are citizens of different states. This

Court also has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

       9.      This Court has jurisdiction over the parties because Defendants conduct

substantial business in this District and intentionally and regularly availed themselves of the

markets and jurisdiction in this District.

       10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)(1) because most

of the events, actions, inactions, decisions, wrongful conduct, and transactions complained of

herein occurred in this District.




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                                        III.    PARTIES

                              RESIDENTS AND INDIVIDUALS

       11.     Plaintiff William (Bill) Lee Fisher resides at 484 E Main St., East Palestine, Ohio,

within a mile of the site of the Norfolk Southern Freight Train 32N derailment. Bill lives with

his two sons, Logan W. Fisher and Lance M. Wolfe, as well as Lance’s wife and two young

children. On February 3, 2023, Bill’s son yelled out “look out the window dad!” and directed

Bill to the massive fireball outside his window. Bill recalls the next day, while walking through

his living room, he was struck with a sudden bout of dizziness, something he had never

experienced before, which caused him to fall into his love-seat. Bill and his family were forced

to evacuate their home in the aftermath of the derailment of Norfolk Southern Freight Train 32N,

and stayed in a hotel in Boardman. Since the derailment, Bill has experienced intense coughing,

sharp pain in his head, shortness of breath whenever doing manual labor, and unpredictable

dizziness spells. Bill is a truck driver by trade and has lost work due to illness and exhaustion.

Since the derailment, there continues to be an unusual odor in and around Bill’s home. As a

result of Defendants’ conduct and omissions complained of herein, Bill has suffered substantial

injuries including decreased property value, damage to real and personal property, lost wages,

and out-of-pocket expenses.     Bill seeks to be a class representative for the Resident and

Individual Class.

       12.     Plaintiffs Joseph and Jennifer Kidder reside at 555 E. Main Street, East Palestine,

Ohio and were forced to evacuate their home in the aftermath of the derailment of Norfolk

Southern Freight Train 32N. The Kidders moved to a hotel in Salem for seven nights. They

were told that they could return home on the 8th or 9th but stayed away until their water was

tested. As a result of Defendants’ conduct and omissions complained of herein, Plaintiffs Joseph

and Jennifer Kidder suffered substantial injuries including decreased property value, damage to




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real and personal property, and out-of-pocket expenses.         The Kidders seek to be class

representatives for the Resident and Individual Class.

       13.     Plaintiffs Robert and Donna Holzer reside at 696 Neely Manor, East Palestine,

Ohio and were forced to evacuate their home in the aftermath of the derailment of Norfolk

Southern Freight Train 32N. The couple raises their grandson, Taylor Holzer, who lives with

them. The Holzers have approximately 100 rescue animals, including parrots, foxes, coyotes,

and a wolf dog. After the derailment, some of the animals have suffered swollen faces, weeping

eyes, and stomach ailments. As a result of Defendants’ wrongful conduct, the Holzers have

suffered substantial injuries including decreased property value, damage to real and personal

property, and out-of-pocket expenses       Robert and Donna Holzers seek to serve as class

representatives for the Resident and Individual Class.

       14.     Plaintiff Melinda Hutton resides in Salem, Ohio, approximately 20 miles from the

location of the train derailment. After the derailment, Ms. Hutton noticed a strange odor in her

home and her dog became ill and started to vomit. In addition, Ms. Hutton’s eyes burned, she

developed a headache, experienced difficulty and pain while breathing. Ms. Hutton has several

friends in the area who had similar experiences with their pets as a result of the derailment. Ms.

Hutton lives on a farm with goats and horses and fears for their health. Ms. Hutton uses well

water from her property, and she is concerned that her water source is now contaminated or will

be contaminated due to the derailment. As a result of Defendants’ conduct and omissions

complained of herein, Ms. Hutton suffered injuries including decreased property value, damage

to real and personal property, and out-of-pocket expenses. Ms. Hutton seeks to serve as a class

representative for the Resident and Individual Class.

       15.     Plaintiffs Keith and Julie Richeal live approximately five blocks from the

derailment site and were forced to evacuate their home in the aftermath of the derailment of

Norfolk Southern Freight Train 32N. Below is a picture taken from the Richeal’s property


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following the derailment. The Richeals stayed at a hotel and then later, at a friend’s house. As a

result of Defendants’ conduct and omissions complained of herein, the Richeals have suffered

injuries including lost wages, decreased property value, damage to real and personal property,

and out-of-pocket expenses. The Richeals seek to serve as class representatives for the Resident

and Individual Class.




       16.     Plaintiffs George A. Psomas and his mother, Helen M. Gould, reside at 365

Columbia St., East Palestine, Ohio, approximately 3000 feet from the derailment site. George

and Helen were likewise ordered to evacuate. The night of the derailment, Helen saw the


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enormous fireball from her window and both Helen and George suffered burning eyes and

nausea and subsequently felt sick. As a result of Defendants’ conduct and omissions complained

of herein, George and Helen have suffered injuries including decreased property value, damage

to real and personal property, and out-of-pocket expenses. George and Helen seek to be class

representatives for the Resident and Individual Class.

                                          BUSINESSES

       17.     Plaintiff Taylor Holzer runs an Ohio business in East Palestine, Ohio, which

was forced to close due to the evacuation. Taylor raises domesticated foxes, which he sells as

pets. One of the foxes died from the fumes caused by derailment of Norfolk Southern Freight

Train 32N, and two others miscarried.        Another broke its leg trying to escape after the

explosions. A veterinarian treated one of the foxes for vinyl chloride exposure. Tests showed

the animals had lung inflammation and elevated liver values.          All told, Taylor has spent

approximately $8,000 on treatment for the animals. As a result of Defendants’ conduct and

omissions complained of herein, Taylor suffered injuries including decreased property value,

out-of-pocket expenses, damage to personal property, lost wages, loss of business income, and

loss of business goodwill. Taylor seeks to serve as a class representative for the Business Class.

                                         DEFENDANTS

       18.     Defendant Norfolk Southern Corporation (“NSC”) is a Virginia corporation with

a principal place of business in Atlanta, Georgia.

       19.     Defendant Norfolk Southern Railway Company (“NRSC”) is a wholly owned

subsidiary of NSC and a Class I railroad corporation organized under Virginia law with a

principal place of business in Atlanta, Georgia. NSRC operates approximately 19,300 route

miles in 22 states and the District of Columbia and serves every major container port in the




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eastern United States.1

          20.      Upon information and belief, NSRC has consistently held itself out as conducting

business affairs as a conduit for NSC in connection with the ownership and operation of their

railway enterprise. Additionally, NSC and NSRC constituted a joint venture in connection with

their railway enterprise inasmuch as they agreed to undertake ownership and operation of the

enterprise jointly for the purpose of sharing associated profits and losses, and in connection

therewith, each contributed their respective skills, property or resources in exercising control or a

right of control over the facilities.

          21.      NSC and NRSC (collectively, “Norfolk Southern”) is a major transporter of

industrial products, including agriculture, forest and consumer products, chemicals, metals, and

construction materials. In addition, Norfolk Southern operates the most extensive intermodal

network in the East and is a principal carrier of coal, automobiles, and automotive parts.

          22.      Defendants ABC Corporations 1-20, names unknown and addresses unknown, are

believed to be predecessors, successors-in-interest or other separate corporate entities involved

in, related to, or otherwise participating in the manufacture, transport, maintenance, control,

oversight, monitoring, inspection, stabilization, or design of the Norfolk Southern freight train

that derailed in East Palestine, Ohio on February 3, 2023 and/or its contents. Plaintiffs could not

discover, despite the exercise of reasonable diligence, the names of these defendants. Upon

information and belief Defendants ABC Corporations 1-20 actively participated in the

transportation or storage of the vinyl chloride at issue in this litigation, and as such owed duties

of care in that regard.




    1
        http://www.nscorp.com/content/nscorp/en/about-ns/corporate-profile.html



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                                                 IV.      FACTS

          23.      NSC touts itself as “one of the nation’s premier transportation companies.”2

However, according to the Federal Railroad Administration (“FRA”), NSRC has had more

accidents in Ohio and Pennsylvania since 2019 – 141 in total – than any other railroad company.

          24.      Norfolk Southern’s most recent derailment took place on the evening of Friday,

February 3, 2023 at approximately 9 p.m. Norfolk Southern Freight Train 32N was on its way to

Conway, Pennsylvania from Madison County, Illinois when an alarm sounded indicating a

mechanical issue with a malfunctioning railcar axle. A wheel bearing had overheated, which

caused the train to catch fire. The train nevertheless continued to travel ablaze through Salem,

Ohio (approximately 20 miles west of the derailment site) toward East Palestine.

          25.      Notably, this was not the first time Norfolk Southern Freight Train 32N had

experienced problems on the route. In fact, it had broken down at least once before. Employees

familiar with the matter believed the train's excessive length and weight — approximately 151

cars, 9,300 feet long, 18,000 tons —contributed to both the initial breakdown and the subsequent

derailment.3 Worse still, the train was backloaded with 40% of its weight, the heaviest tanker

cars, at the rear.

          26.      When an emergency brake was eventually applied, the train derailed and spilled

millions of pounds of toxic and highly combustible chemicals, which ignited. Those toxic

chemicals included vinyl chloride, butyl acrylate, ethylhexyl acrylate, isobutylene, ethylene

glycol monobutyl ether, diethylene glycol, hydrogen sulfide, hydrogen cyanide, and benzene.

          27.      Despite the immediate dangers posed by the highly toxic chemicals spewing from

the wreckage, Norfolk Southern failed to immediately report the derailment as required by



    2
        http://www.nscorp.com/content/nscorp/en/about-ns/corporate-profile.html
    3
        https://www.cbsnews.com/news/ohio-train-derailment-east-palestine-norfolk-southern-excess-size/



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federal law. See 49 C.F.R. § 225.9(a)(2)(iv). Norfolk Southern did not report the trainwreck to

federal authorities until approximately two hours after the derailment.

         28.   Aerial photos taken at the time showed a gnarled entanglement of railcar

wreckage engulfed by fire and heavy smoke, discharging a toxic mix of chemicals into the

surrounding communities’ air, water, and soil. The conflagration was large enough to be detected

by a weather radar approximately 50 miles away in Pittsburgh, Pennsylvania. Its smoke plume

was blown to the south and east due to a northwest wind that was blowing over the fire, traveling

at least as far as Bridgewater, Pennsylvania at that time.

         29.   Norfolk Southern Freight Train 32N was transporting at least five cars containing

more than a million pounds of vinyl chloride, a potent carcinogen linked to liver cancer, brain

cancer, breast cancer, and blood cancer. Vinyl chloride can travel through soil and groundwater

or convert to a gas and travel with the wind. It is also normally colorless and odorless and when

ingested through the lungs, skin, or mouth, can cause grievous injuries to the nervous system,

cardiovascular system, lungs, liver, kidneys, and reproductive system.

         30.   As the wreckage fires burned, the temperature of the railcars carrying the vinyl

chloride climbed, as did the pressure inside the railcars and the risk of a catastrophic explosion.

Although the cars were equipped with emergency relief valves designed to vent their contents to

relieve pressure in such emergencies, the valves malfunctioned as a result of poor maintenance.

Due to the growing risk of a deadly explosion, nearby residents were evacuated from their

homes.

         31.   At 4:30 p.m. on Monday, February 6, 2023, Defendants performed a “controlled

release” of the vinyl chloride by intentionally blowing holes in cars and dumping their cancer-

causing contents into a crude trench and then igniting the vinyl chloride to burn off into the

atmosphere. However, burning vinyl chloride merely releases a host of other toxic chemicals,




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including the chemical warfare agent, phosgene gas. Phosphate gas is colorless gas used as a

chemical weapon in World War I that is colorless but six times deadlier than chlorine gas.

       32.     Following the explosive and fiery “controlled release,” a large plume of thick

black smoke formed a mushroom cloud, which dispersed toxic gases into the atmosphere:




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       33.     The “controlled release” of vinyl chloride released hundreds of thousands of

pounds of toxic gases, including phosgene and hydrogen chloride, into the air. Particulate

pollution from the fire was reported as far as 30 miles around the derailment site. For instance,

on February 6, the EPA detected five times the particulate level in Youngstown, Ohio -- 23 miles

from the derailment site – than detected prior to the derailment.

       34.     In the days since the derailment, fears about a broader environmental disaster in

East Palestine and neighboring areas have been mounting. According to the Ohio Department of

Natural Resources, at least 3,500 fish have died from local waterways including the Ohio River

becoming contaminated. And local residents have experienced chickens, rabbits, foxes and other

animals falling ill and dying. Meanwhile, a pungent odor remains in the air in East Palestine,

and some residents have complained of rashes, runny eyes, and other symptoms.

       35.     The spread of toxic pollutants from the trainwreck damaged Plaintiffs’ properties

and interfered with their ability to use and enjoy their properties. Plaintiffs and Class members



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continue to live in the shadow of the toxic wreckage. Hazardous chemicals continue to seep

through soils, contaminating groundwater and surrounding properties. These properties have

suffered and continue to suffer a diminution in value by virtue of their proximity to site of the

derailment, and the stigma associated with being located so near the environmental disaster.

       36.     The derailment, subsequent chemical spill, and fire were caused by the

negligence, carelessness, recklessness, and/or intentional acts of Defendants in the ownership,

operation, inspection, maintenance, and repair of the subject train, rail cars, and track system, as

well as the design and performance of the “controlled release.”

       37.     As a direct and proximate result of the acts and/or omissions of Defendants,

Plaintiffs were caused to suffer damages, including, but not limited to decreased property values,

out-of-pocket expenses, damage to real and personal property, lost wages, loss of business

income, and loss of business goodwill.

       38.     As a direct and proximate result of the acts and/or omissions of Defendants,

Plaintiffs will require clinical evaluations, epidemiological analyses, and a Court supervised

medical monitoring program to determine the impact of the hazardous chemicals on their health.

       39.     As a direct and proximate result of the acts and/or omissions of Defendants,

Plaintiffs were forced to leave the peace and enjoyment of their homes, their outdoor property,

their streets, their yards, parks, and/or their businesses following the release of harmful and

obnoxious quantities of hazardous and ultra-hazardous chemicals and from the threat of

explosion resulting from high concentrations of the highly flammable chemicals.

       40.     As a direct and proximate result of the acts and/or omissions of Defendants,

Plaintiffs were caused to suffer economic repercussions from the closure of businesses, the loss

of business opportunity, business interruption, loss of income and wages, and the inability to

transact business and the loss of good will.




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                                    V.       CLASS ACTION ALLEGATIONS

            41.      Plaintiffs bring all claims herein as class claims pursuant to Fed. R. Civ. P. 23.

The requirements of Rule 23 (a), (b)(2) and (b)(3) are met with respect to the classes defined

below.

A.          Class Definitions

            42.      Plaintiffs seek to certify the following classes:

                     (a)       Business Class – Businesses located within the geographic region

extending up to 30 miles from the location of the February 3, 2023 Norfolk Southern Freight

Train derailment in East Palestine, Ohio. The Class Representative for this Class is Taylor

Holzer.4

                     (b)       Resident and Individual Class                 –    Residents and other non-resident

individuals that either resided or worked within the geographic region extending up to 30 miles

from the location of the February 3, 2023 Norfolk Southern Freight Train derailment in East

Palestine, Ohio. The Class Representatives for this Class are William Fisher, Helen Gould,

Donna Holzer, Robert Holzer, Melinda Hutton, Jennifer Kidder, Joseph Kidder, Julie Richeal,

Keith Richeal, and George A. Psomas.5

            Excluded from the Classes are: (1) Defendants and any of their affiliates, parents or

subsidiaries; all employees of Defendants; all persons who make a timely election to be excluded

from the Classes; government entities; and the judges assigned to this case, their immediate

families, and court staff; and (2) insurers and insurance syndicates whose claims for damages

regarding the February 3, 2023 train derailment and resulting toxic chemical explosion arise out

of a right of subrogation, whether equitable, contractual, or otherwise.



     4
         Plaintiffs reserve the right to amend this class definition, if necessary.
     5
         Plaintiffs reserve the right to amend this class definition, if necessary.



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B.     Numerosity

       43.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1) because Class

members are so numerous that the joinder of all members is impractical. Although the exact

number of Class members is unknown to Plaintiffs at this time, it is ascertainable and includes

thousands of residents and businesses.

C.     Commonality

       44.     There are questions of law or fact common to each of the classes, including at

least the following:

               a.      Whether Defendants negligently operated, maintained, controlled,

                       oversaw, inspected, or monitored Norfolk Southern Freight Train 32N and

                       its contents;

               b.      Whether Defendants’ acts or omissions as set forth above caused the

                       derailment, fire, subsequent leak of toxic chemicals, resulting explosion,

                       contamination and evacuation;

               d.      Whether Defendants acted with conscious disregard for the safety and

                       health of Plaintiffs and the Class members;

               e.      Whether Defendants’ actions created a nuisance;

               e.      Whether Defendants’ actions constitute negligence per se;

               f.      Whether Defendants are strictly liable;

               g.      Whether Defendants’ actions constitute trespass;

               h.      Whether Defendants are liable for the defective and unreasonably

                       dangerous conditions on Norfolk Southern Freight Train 32N, resulting in

                       the Plaintiffs’ and Class members’ exposure to the hazardous chemicals;

               j.      Whether Defendants’ misconduct, violations of federal, state, and local

                       laws, and breaches of legal duties owed to businesses and residents of the


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                       community in the transporting, containing and storage of hazardous

                       substances resulted in the Plaintiffs’ and Class members’ exposure to the

                       hazardous chemicals.

D.     Typicality

       45.     Plaintiffs have the same interests in this matter as all other members of the

Classes, and their claims are typical of all members of the Classes.

E.     Adequacy

       46.     Plaintiffs are committed to pursuing this action and have retained competent

counsel experienced in class actions. Plaintiffs will fairly and adequately represent the interests

of the Class members and do not have interests adverse to the Classes.

F.     Common Questions Predominate, and the Class Action Device Is Superior Under
       Rule 23(B)(3)

       47.     The common questions of law and fact enumerated above predominate over

questions affecting only individual members of the Classes, and a class action is the superior

method for fair and efficient adjudication of the controversy. The likelihood that individual

members of the Classes will prosecute separate actions is remote due to the extensive time and

considerable expense necessary to conduct such litigation. This action will be prosecuted in a

fashion to ensure the Court’s able management of this case. Further, there is little or no interest

by members of the Classes in individually controlling the prosecution of separate actions.

G.     Rule 23(b)(2) Certification is also Appropriate

       48.     A class pursuant to Rule 23(b)(2) is also appropriate because Defendants have

acted or refused to act on grounds generally applicable to all members of the Classes, thereby

making appropriate preliminary and/or injunctive relief, and/or corresponding relief, in respect of

the Classes as a whole, including but not limited to a Court supervised medical monitoring

program.



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                                   COUNT I - NEGLIGENCE

        49.    Plaintiffs allege all previous paragraphs as if set forth fully herein.

        50.    Defendants actively participated in the transportation, maintenance, stabilization,

control, oversight, inspection, and monitoring of Norfolk Southern Freight Train 32N, and as

such owed duties of care in that regard. Defendants owed a heightened duty to Plaintiffs and the

Classes as a common carrier and as a transporter of hazardous chemicals to exercise due care in

transporting, maintaining, stabilizing, controlling, overseeing, inspecting, and/or monitoring the

Norfolk Southern Freight Train 32N, its contents, and the rails upon which the train operated.

Additionally, Defendants owed a duty to maintain, monitor, oversee, inspect, and/ or control how

Norfolk Southern Freight Train 32N was operated to avoid the release of harmful quantities of

toxic chemical substances and materials.           Defendants also owed a duty to prevent the

inappropriate emission of toxic chemicals into the environment, especially into residential

settings.

        51.    Defendants breached these duties, and others, by negligently transporting,

maintaining, stabilizing, controlling, overseeing, inspecting, and/ or monitoring Norfolk

Southern Freight Train 32N, its contents, and the rail line upon which the train operated.

Further, Defendants breached this duty by performing the “controlled release” of extremely

combustible and hazardous chemicals.         Among other things, Defendants failed to operate,

maintain, inspect, and/or repair the railway and railcars to ensure their safety and proper

operation; failed to ensure proper mechanism for stopping malfunctioning railcars without

derailment; failed to ensure proper safety procedures in the event of a mechanical malfunction of

equipment; failed to load the railcars consistent with accepted practice; failed to adequately staff

the railcars; failed to adequately train and supervise their agents and employees (including the

train engineer and dispatcher operating the train at the time of the derailment); failed to

adequately warn those in danger of exposure to hazardous materials; failed to institute proper


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procedures in the event of a derailment to avoid exposing the environment to hazardous

materials; failed to timely implement an emergency-response plan in the event of a derailment;

failed to properly dispose of hazardous materials from the derailment site; and failed to contain

the spread of hazardous chemicals into the air, water, and soil.

        52.     As a direct and proximate result of Defendants’ negligent conduct, as alleged

herein, Plaintiffs and the Class members have suffered damages in an amount which will be

proven at trial, including, but not limited to, property damage, diminution of value and lost use

of real estate, damage to personal and real property, lost wages, loss of business income, and loss

of business goodwill.     Plaintiffs and the Class members are further entitled to appropriate

equitable relief.

                                     COUNT II – NUISANCE

        53.     Plaintiffs allege all previous paragraphs as if set forth fully herein.

        54.     Plaintiffs and the Class members have legitimate and exclusive possessory rights

in affected property near and surrounding the area in which Norfolk Southern Freight Train 32N

derailed.

        55.     Defendants’ unreasonable, intentional, reckless, abnormally dangerous, and/or

negligent conduct resulted in reasonably foreseeable consequences including the physical

discomfort and mental annoyance and distress to Plaintiffs and the Class members and

substantial interference with their ability to enjoy and use their lands, property, and

neighborhoods, their ability to enjoy and use their exclusive possession of their lands, property,

and neighborhoods and, for some, their ability to carry on their businesses.

        56.     Plaintiffs and the Class members suffered and continue to suffer a harm and

injury to their residential, commercial, and agricultural properties to which they did not consent

and which is different from the type of harm suffered by the general public.




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       57.     Defendants’ contamination of Plaintiffs’ property with toxic substances has

unreasonably and substantially interfered with Plaintiffs’ rights to use and enjoy their property. It

has caused Plaintiffs to refrain from using or occupying their property.

       58.     Plaintiffs and the Class members, unlike the public generally, have suffered

specific injuries as a result of Defendants’ tortious conduct including the contamination of their

land and water.

       59.     Defendants’ improper transportation and handling of toxic chemicals, and the

contamination of Plaintiffs’ property resulting therefrom, constitute a private nuisance.

       60.     As a result of Defendants’ misconduct, Plaintiffs and the Class members have

suffered and will continue to suffer decreased property values, damage to their real and personal

property, lost wages, loss of business income, and loss of business goodwill.

                               CLAIM III - PUBLIC NUISANCE

       61.     Plaintiffs allege all previous paragraphs as if set forth fully herein.

       62.     Defendants’ release of toxic chemicals has created conditions that are harmful to

health and interfere with the comfortable enjoyment of life and property. As a result of

Defendants’ actions and inactions, Plaintiffs have suffered a permanent loss of use and

enjoyment of their property.

       63.     Defendants knew or should have known that the toxic chemicals were hazardous

to people and real property and that improper transportation, handling, and disposal of such

materials would injure people in the surrounding communities.

       64.     Plaintiffs and the Class members have a common right to enjoy their real property

free from dangerous contamination, to breathe clean air, have access to clean running water

without dangerous levels of toxic chemicals, and to live their lives without unreasonable

exposure to toxic chemicals.




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          65.   Defendants, through the negligent, reckless, or intentional acts and omissions

described above, substantially and unreasonably infringed upon and transgressed these public

rights.

          66.   As a direct and proximate result of Defendants’ improper transportation and

handling of toxic chemicals, Plaintiffs’ and the general public’s common right to breathe clean

air and have access to clean water without dangerous levels of toxic chemicals was diminished.

          67.   As a direct and proximate result of Defendants’ release of toxic chemicals,

Defendants invaded and contaminated Plaintiffs’ and the Class members’ residences and

businesses, thus exposing them to toxic chemicals and carcinogens.

          68.   Defendants’ release of harmful chemicals also affected and continue to affect the

public at large, causing massive environmental damage to the surrounding area.

          69.   As a result of Defendants’ misconduct, Plaintiffs and the Classes have suffered

and continue to suffer harm, injury, and losses, including physical injury to property, loss of use

and enjoyment of their property, diminution in property values, lost wages, loss of business

income, and loss of business goodwill.

                           COUNT IV – STAUTUTORY NUISANCE

          70.   Plaintiffs allege all previous paragraphs as if set forth fully herein.

          71.   Section 112 of the federal Clean Air Act includes vinyl chloride in the list of

hazardous air pollutants and sets a national emission standard. 41 Fed. Reg. 46560.

          72.   Under the Pennsylvania Air Pollution Control Act, 35 P.S. § 4006.6, it is

forbidden to emit air pollutants of hazardous materials in amounts greater than those set by the

Clean Air Act. Any violation of the PAPCA constitutes a public nuisance and “[a]ny person who

causes the public nuisance shall be liable for the cost of abatement.” 35 P.S. § 4013.




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       73.     Under Ohio Rev. Code § 3704.03, “no person shall cause, permit, or allow

emission of an air contaminant in violation of any rule adopted by the director of environmental

protection.”

       74.     Defendants’ derailment and “controlled release” emitted dangerous amounts of

vinyl chloride and other hazardous chemicals into the air in and surrounding the properties of

Plaintiffs and the Class members.

       75.     As a direct and proximate result of Defendants’ acts and omissions described

herein, Plaintiffs and the Class members have had their bodies and property exposed to

hazardous air pollutants in violation of Pennsylvania, Ohio, and federal law.

       76.     Plaintiffs’ and the Class members’ exposure to the toxic chemicals caused

Plaintiffs and the Class members to suffer and continue to suffer harm, injury, and losses,

including physical injury to property, loss of use and enjoyment of their property, diminution in

property values, lost wages, loss of business income, and loss of business goodwill.

                                     COUNT V - TRESPASS

       77.     Plaintiffs allege all previous paragraphs as if set forth fully herein.

       78.     Defendants, without authority or privilege, caused harmful quantities of the

hazardous chemicals from Norfolk Southern Freight Train 32N to physically invade and/or

unlawfully enter upon the land, soil, air, and water of Plaintiffs and the Class members.

       79.     Defendants knew or should have known that the hazardous chemicals they

transported, released, and intentionally ignited were dangerous and harmful to people, animals,

and real and personal property. Defendants were substantially certain that the emission,

discharge, disposal, distribution, spread, or release of these toxic substances would injure

Plaintiffs and their property.




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       80.     Defendants intentionally, knowingly, negligently, carelessly, and/or recklessly

caused a trespass: i) by releasing into the air, water, and soils pollutants, particulates, and

chemicals including vinyl chloride, butyl acrylate, ethylhexyl acrylate, isobutylene, ethylene

glycol monobutyl ether, diethylene glycol, carbon monoxide, hydrogen sulfide, hydrogen

cyanide, and benzene; and ii) by allowing or causing such chemicals to discharge, seep, or

migrate underground in such a manner that it was reasonably foreseeable that the toxic material

would, in due course, invade Plaintiffs’ and Class members’ real property and cause physical

injury to that property.

       81.     Harmful quantities of the hazardous chemicals entered Plaintiffs’ land, soil, water,

and breathing air.

       82.     Defendants’ toxic chemicals invaded the real property of Plaintiffs and the Class

members and interfered with their possessory interests of that property. Defendants caused toxic

chemicals to enter, invade, and intrude on the real properties of Plaintiffs and the Class members

without their privilege, permission, consent, authorization, invitation, or justification This

trespass has resulted in damages to the Plaintiffs and interfered with Plaintiffs’ use and

enjoyment of their property, caused physical damage to their property by casting over their

property a plume of offensive emissions and pollutants, and depositing chemical residue on their

homes, yards, businesses, and farms.

       83.      As a direct and proximate result of Defendants' trespass, Plaintiffs and Class

members have suffered legal injury and damages, in an amount to be proven at trial, including,

but not limited to, property damage, diminution of value of real estate, the cost to repair the

damage and restore the property to its pre-trespass condition, the costs of recovering possession

of the property, business losses, and the value of their lost use of the property as a result of the

trespass.




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                          COUNT VI – TRESPASS TO CHATTELS

       84.     Plaintiffs allege all previous paragraphs as if set forth fully herein.

       85.     Plaintiffs and the Class members had a possessory interest in their personal

property including, but not limited to, personal vehicles, commercial vehicles, household goods,

professional equipment, recreational equipment, livestock, and pets.

       86.     Defendants’ release of toxic chemicals impaired the condition, quality, and/or

value of Plaintiffs’ and the Class members’ personal property.

       87.     Through the acts and omissions described herein, Defendants deprived Plaintiffs

and the Class members of the use of their personal property and caused harm to personal

property in which Plaintiffs and the Class members had a legally protected interest.

       88.     As a direct and proximate result of Defendants’ misconduct, Plaintiffs and the

Class members suffered and will continue to suffer damage to their personal property, out-of-

pocket expenses, and loss of property value.

                            COUNT VII - NEGLIGENCE PER SE

       89.     Plaintiffs allege all of the previous paragraphs as if set forth fully herein.

       90.     In violation of Ohio Revised Code § 3704 et seq. and § 3734 et seq., Defendants

allowed hazardous chemical fumes and hazardous and ultra-hazardous degradation products to

escape from the Norfolk Southern Freight Train 32N and enter the open air and caused a

hazardous waste to be illegally disposed from the Norfolk Southern Freight Train 32N, where it

endangered the health, safety, and welfare of the public, including Plaintiffs and the Classes.

       91.     Defendants’ violation of Ohio Revised Code § 3704 et seq. and § 3734 et seq.,

constitutes negligence per se.

       92.     As a direct and proximate result of Defendants’ negligence per se, Plaintiffs and

the Classes suffered damages in an amount which will be proven at trial and are entitled to

appropriate damages and equitable relief.


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                             COUNT VIII - STRICT LIABILITY

       93.     Plaintiffs allege all previous paragraphs as if set forth fully herein.

       94.     Defendants were engaged in an abnormally and inherently dangerous or ultra

hazardous activity in the distribution, transportation, storage, maintenance, inspection,

monitoring, and use of hazardous chemicals.

       95.     Defendants are strictly liable for all damages which may occur or arise out of their

distribution, transportation, storage, maintenance, inspection, monitoring, use, and handling of

hazardous chemicals regardless of their standard of care.

       96.     Plaintiffs and the Class members were in fact injured as a proximate result of their

exposure to harmful quantities of hazardous chemicals distributed, transported, stored,

maintained, inspected, monitored, used, and handled by Defendants and are entitled to

appropriate damages and equitable relief.

       97.     The harm to Plaintiffs and the Class members was and is the kind of harm that

would be reasonably anticipated based on the normal risks created by transporting hazardous and

toxic chemicals in close proximity to residential, commercial, and agricultural areas.

       98.     As a direct and proximate result of Defendants’ ultrahazardous activities,

Plaintiffs and the Class members have suffered and will continue to suffer decreased property

values, damage to their real and personal property, lost wages, loss of business income, and loss

of business goodwill.

                        COUNT IX – OHIO REVISED CODE § 4963.37

       99.     Plaintiffs allege all previous paragraphs as if set forth fully herein.

       100.    Defendants operated a railroad, or a part of a railroad, during all relevant times as

alleged in this Complaint.




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       101.    As a direct and proximate result of Defendants’ operation of a railroad, or a part

of a railroad, a fire originated upon the lands belonging to Defendants and that fire was caused

by the operation of the railroad.

       102.    This fire caused losses and damages to Plaintiffs and the Classes and constituted a

violation of Ohio Revised Code § 4963.37.

       103.    Plaintiffs and the Classes are entitled to appropriate damages and equitable relief

as a result of Defendants’ violation of Ohio Revised Code § 4963.37.

         COUNT X - INDUCING PANIC THROUGH DISORDERLY CONDUCT

       104.    Plaintiffs allege all previous paragraphs as if set forth fully herein.

       105.    Ohio Rev. Code § 2917.31(A)(3) provides that “[n]o person shall cause the

evacuation of any public place, or otherwise cause serious public inconvenience or alarm, by

doing any of the following: . . . [c]ommitting any offense, with reckless disregard of the

likelihood that its commission will cause serious public inconvenience or alarm.”

       106.    Ohio Rev. Code § 2917.11(A)(4) prohibits “[h]indering or preventing the

movement of persons on a public street, road, highway, or right-of-way, or to, from, within, or

upon public or private property, so as to interfere with the rights of others, and by any act that

serves no lawful and reasonable purpose of the offender.”

       107.    Ohio Rev. Code § 2917.11(A)(5) prohibits “[c]reating a condition that is

physically offensive to persons or that presents a risk of physical harm to persons or property, by

any act that serves no lawful and reasonable purpose of the offender.”

       108.    Through the acts and omissions described above, Defendants induced panic

through disorderly conduct.

       109.    Defendants had no lawful or reasonable purpose in derailing the train.

       110.    Defendants had no lawful or reasonable purpose in releasing and igniting

thousands of pounds of toxic chemicals into the environment.


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       111.    Under Ohio Rev. Code § 2307.60(A)(1), “Anyone injured in person or property

by a criminal act has, and may recover full damages in, a civil action unless specifically excepted

by law, may recover the costs of maintaining the civil action and attorney's fees if authorized by

any provision of the Rules of Civil Procedure or another section of the Revised Code or under

the common law of this state, and may recover punitive or exemplary damages if authorized by

section 2315.21 or another section of the Revised Code.”

       112.    As a direct and proximate result of Defendants’ unlawful actions in derailing the

Norfolk Southern Freight Train 32N and causing the “controlled release,” Plaintiffs and the Class

members suffered and continue to suffer harm, injury, and losses, including physical injury to

property, loss of use and enjoyment of their property, and diminution in property values, lost

wages, loss of business income, and loss of business goodwill.

                              COUNT XI - PUNITIVE DAMAGES

       113.    Plaintiffs allege all previous paragraphs as if set forth fully herein.

       114.    Defendants’ actions constitute heedless disregard and reckless indifference to the

safety of the general public as to constitute willful misconduct, gross negligence, and/or a

conscious disregard for the safety and health of others, for which punitive damages should be

awarded. As such, Plaintiffs and the Classes are entitled to punitive damages.

      COUNT XII – DECLARATORY, INJUNCTIVE, AND EQUITABLE RELIEF

       115.    Plaintiffs allege all previous paragraphs as if set forth fully herein.

       116.    An actual, justiciable controversy exists between Plaintiffs and the Class members

and Defendants. A judgment from this Court regarding these issues would afford relief from

uncertainty and insecurity with respects to rights, status, and other legal relations of the parties.




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        117.    Defendants have had and continue to have a duty to use reasonable care not to

enter, invade, or intrude on Plaintiffs’ or Class members’ real property. Defendants also have

owed and continue to owe a duty to Plaintiffs and members of the Class to exercise reasonable

care in transporting hazardous chemicals and toxic pollutants.

        118.    Defendants breached these duties by negligently, wantonly, carelessly, and/or

recklessly failing to maintain and operate Norfolk Southern Freight Train 32N and failing to

promptly contain and clean up the hazardous spill. These breaches caused physical injuries to

Plaintiffs’ and Class members’ properties.

        119.    Plaintiffs and Class members have an adverse legal interest to Defendants. This

adverse interest and the controversy that exists between the parties can be resolved through the

specific relief sought.

        120.    Plaintiffs, on behalf of themselves and the Class members, request that the Court

issue an Order requiring Defendants to establish and implement comprehensive testing and

cleanup protocols for residential, commercial, and agricultural properties within a thirty-mile

radius of the derailment site. Plaintiffs request that testing and cleanup protocols be sufficient to

detect and remediate elevated levels of vinyl chloride, butyl acrylate, ethylhexyl acrylate,

isobutylene, ethylene glycol monobutyl ether, diethylene glycol, carbon monoxide, hydrogen

sulfide, hydrogen cyanide, and benzene on Plaintiffs’ and Class members’ properties, and in the

soils and waters surrounding Plaintiffs’ and Class members’ properties.

        121.    Plaintiffs, on behalf of themselves and the Class members, also request that the

Court issue an order requiring and appointing a special master to implement and oversee a

corporate monitoring program of Defendants’ operations to insure and protect against future

accidents.

                           COUNT XIII – MEDICAL MONITORING

        122.    Plaintiffs allege all previous paragraphs as if set forth fully herein.


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       123.    As previously described, Plaintiffs and the Class members have been exposed to

substantial quantities of toxic chemicals as a result of the derailment of Norfolk Southern Freight

Train 32N.

       124.    As a direct and proximate result of this exposure to toxic chemicals, Plaintiffs and

Class members have a significantly increased risk of developing cancer and other latent diseases,

making periodic diagnostic medical testing reasonably necessary.

       125.    Early diagnosis of cancer and other diseases provide significant value for Class

members because it will help monitor and minimize the harm caused by Defendants’ misconduct

and provide Class members the ability to monitor diseases caused by Defendants’ misconduct.

       126.    Monitoring procedures exist that make early detection of cancers and other latent

disease possible and beneficial. These monitoring procedures are different from the tests and

procedures that are normally recommended in the absence of toxic exposures and are reasonably

necessary due to the Class members’ exposures to the toxic substances released by the train.

       127.    Medical monitoring to facilitate early detection of these diseases is necessary to

protect the health and well-being of Plaintiffs and Class members. Periodic physical

examinations and diagnostic testing will reduce the risk of severe illness and allow early medical

intervention to address detected problems early in the disease process, improving the chances for

survival and the long-term well-being of those affected.

       128.    The exposure to toxic chemicals, in particular vinyl chloride, requires the

establishment of a comprehensive medical-monitoring program to ensure that the harms

occasioned by Defendants’ misconduct are mitigated to the extent possible.

       129.    Plaintiffs assert no claims for physical manifestation of bodily injury arising from

the derailment and its aftermath and have no adequate remedy at law. Declaratory, injunctive, or

other equitable relief is thus appropriate.




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       130.    Plaintiffs request injunctive relief in the form of a Court-supervised medical-

monitoring program funded by Defendants. The specifics of the medical-monitoring program is a

subject for the Court to determine, following a hearing.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for the following relief in this action:

       1.      An order confirming that this action is properly maintainable as a class action as

defined above and appointing Plaintiffs and their undersigned counsel to represent the Classes;

       2.      Injunctive relief requiring:

       (a) Defendants to provide, at their expense, a Court supervised investigation to determine

any potential medical problems to which persons exposed to the hazardous chemicals released

from Norfolk Southern Freight Train 32N may suffer and the proper procedures for diminishing

the potential for any such problems;

       (b) Defendants to perform, at their expense, Court supervised studies, analyses, medical

tests, medical monitoring, and remedial measures as are necessary, just and proper under the

circumstances; and

       (c) Defendants to perform, at their expense, a Court supervised medical monitoring

program to fund a study of the long term effects of exposure to the hazardous chemicals released

from Norfolk Southern Freight Train 32N, to fund a study of the long term effects of those

hazardous chemicals within the human body, to gather and forward to treating physicians

information relating to the diagnosis and treatment of injuries which may result from exposure to

the hazardous chemicals to aid in the early diagnosis and treatment of resulting injuries, and to

provide funding for diagnosis and preventable medical treatment.

       (d) Defendants to pay for and abide by the recommendations of a special master to

implement and oversee a corporate monitoring program of Defendants’ operations to insure and

protect against future accidents.


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       3.      An award of compensatory damages (including exposure damages) for Plaintiffs

and members of the Classes and all monetary relief authorized by law or referenced in the

complaint;

       4.      An order that Defendants are jointly and severally liable and that Defendants must

pay all appropriate damages in compensation to Plaintiffs and Class members.

       5.      An award of prejudgment and post judgment interest;

       6.      An award of punitive damages;

       7.      An award of attorneys’ fees and costs; and

       8.      Such other and further compensatory, equitable or other relief as this Court may

deem just, equitable or proper.

Dated: February 23, 2023             Respectfully submitted,


                                     /s/ Jeffrey S. Goldenberg

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                   ENDORSEMENT FOR JURY DEMAND

       Plaintiffs demand trial by jury for all issues triable by law.



                              /s/ Jeffrey S. Goldenberg
                              Jeffrey S. Goldenberg




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